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             EXHIBIT 72
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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS




MODERNATX, INC. and MODERNA US, INC.,

                Plaintiffs,

     v.                                    C.A. No. 22-11378-RGS

PFIZER INC., BIONTECH SE, BIONTECH         JURY TRIAL DEMANDED
MANUFACTURING GMBH, and BIONTECH
US INC.,

                Defendants.



MODERNATX, INC. AND MODERNA US, INC.’S OPPOSITION TO DEFENDANTS’
   MOTION TO COMPEL PRODUCTION OF PRIVILEGED DOCUMENTS
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I.     INTRODUCTION

       Defendants seek to compel the production of two documents that Moderna has properly

redacted or withheld to avoid disclosing material protected by the attorney-client privilege. The

material redacted from the Schrum document (MOD_000282515) reflects legal advice from Greg

Sieczkiewicz, who was an IP attorney advising Moderna at the time that the company was founded.

And the de Fougerolles document (MOD_000332132) is privileged in its entirety. Moderna shared

the de Fougerolles document with its IP attorney             , and the document reflects her legal

advice on intellectual property analysis or protection. The documents that Moderna submits for in

camera review confirm the privileged nature of the information at issue, and Defendants’

arguments rest on mischaracterizations of the record and unsupported speculation. Moderna

therefore respectfully requests that the Court deny Defendants’ motion.

II.    FACTUAL BACKGROUND

       A.      Schrum Document

       The Schrum document was authored in 20101 and produced to Defendants with redactions.

See Ex. D. The Schrum document reflects legal advice from attorney Greg Sieczkiewicz regarding

intellectual property analysis or protection. Ex. A at 182 (Entry No. 3215). The redacted portions

of the document reflect the advice of Dr. Sieczkiewicz, who provided legal services to Moderna

at the time the document was authored. See Ex. C at 353:2-24 (testifying that the Schrum

document “included feedback” from individuals including “Greg Sieczkiewicz”); id. at 357:9-11

(“Q. And did you receive legal advice from Mr. Sieczkiewicz in your work for Flagship and



1
       Contrary to Defendants’ suggestion (Memo. at 13), the Schrum document was not authored
in 2011; it was authored in 2010. The Schrum document is titled “2010 Fellows – RNA Agonism.”
Ex. D at 1. Moreover, metadata from a copy of the Schrum document produced from Jason
Schrum’s files confirms the document is from August 2010. See Ex. 4 at 13 (listing modified date
of August 31, 2010).
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Moderna? A. Yes, that’s correct.”); see also id. at 202:14-203:14 (testifying that Dr. Sieczkiewicz

would provide feedback on “IP content” given “his role as the IP attorney”). During the relevant

time, Dr. Sieczkiewicz was the Vice President of Intellectual Property at Flagship Ventures. Ex.

C at 202:14-16, 356:20-357:3. Dr. Jason Schrum, one of the authors of the document, expressly

testified at his deposition that Dr. Sieczkiewicz provided feedback on the document, that Dr.

Sieczkiewicz was the Vice President of Intellectual Property at Flagship, that Dr. Sieczkiewicz

provided legal advice to Dr. Schrum in connection with his work for Flagship and Moderna, and

that Dr. Sieczkiewicz would provide feedback on “IP content.” E.g., Ex. C at 202:14-203:14,

353:2-24, 356:17-357:11.

       Moderna was founded by Flagship as “‘ProtoCo:’ LS18” in 2009/2010. Ex. 1 at 2, 4; Ex.

2 at 14 (noting that “Moderna Therapeutics, Inc.” was “incorporated in 2009 as Newco LS18, Inc.

by Flagship Pioneering”); see also Ex. C at 10:21-11:9 (testifying that Moderna “was one of the

new-venture creations that Flagship was working on”); id. at 60:23-61:1. At the time that the

Schrum document was written (i.e., 2010), Moderna (aka LS18) operated as part of Flagship, and



               See Ex. C at 357:9-11 (agreeing that Dr. Schrum “receive[d] legal advice from Mr.

Sieczkiewicz in [his] work for Flagship and Moderna”). LS18 eventually became Moderna. See

Ex. 1 at 4 (“LS18 renames itself Moderna Therapeutics”); Ex. 2 at 14 (explaining that “Moderna

Therapeutics, Inc.” was “incorporated in 2009 as Newco LS18, Inc. by Flagship Pioneering”).

Indeed, although written on Flagship letterhead, the Schrum document repeatedly utilized the

company’s new name (“ModeRNA”). Ex. D at 2524.

       B.      de Fougerolles Document

       The de Fougerolles document reflects legal advice from attorney                   regarding

intellectual property protection or analysis. E.g., Ex. A at 184 (Entry No. 3278); Ex. P at 3. This
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goal of ‘promot[ing] broader public interests in the observance of law and administration of

justice.’” (citations omitted)). For that reason, it is “with rare exceptions inviolable[.]” Suffolk

Const. Co., Inc. v. Division of Capital Asset Mgmt., 870 N.E.2d 33, 43 (Mass. 2007).

       Where, as here, state law “supplies the rule of decision,” “state law governs privilege.”

Fed. R. Evid. 501. Accordingly, Massachusetts law governs Defendants’ arguments incorrectly

challenging privilege as to the Schrum document and the de Fougerolles document.

IV.    ARGUMENT

       A.      The Redacted Portions of the Schrum Document Reflect Legal Advice from a
               Lawyer Providing Legal Advice to Moderna and Is Privileged.

               1.      The Redacted Portions of the Schrum Document Reflect Legal Advice
                       from Greg Scieczkiewicz Regarding Intellectual Property Analysis or
                       Protection.

       Moderna properly redacted the Schrum document to avoid disclosing material protected

by the attorney-client privilege.     Dr. Jason Schrum testified at his deposition that Greg

Sieczkiewicz provided feedback on the document, that Dr. Sieczkiewicz was the Vice President

of Intellectual Property at Flagship, that Dr. Sieczkiewicz provided legal advice to Dr. Schrum in

connection with his work for Flagship and Moderna, and that Dr. Sieczkiewicz would provide

feedback on “IP content.” E.g., Ex. C at 202:14-203:14, 353:2-24, 356:17-357:11. As the Court

will see from its in camera review, the redacted portions of the Schrum document reflect Dr.

Sieczkiewicz’s legal advice on intellectual property analysis or protection—which Moderna

properly redacted as material protected by the attorney-client privilege.

       Each of Defendants’ arguments to the contrary fails. First, Defendants incorrectly argue

that the “white paper … has no indicia of privilege on the document itself.” Memo. (Dkt. 210) at

9. But the Schrum document clearly lists “Greg Sieczkiewicz, PhD, JD” on the face of the

document.” Ex. D at 2515; see also Ex. C at 357:4-8 (“Q. … And do you see it says, ‘Greg


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Sieczkiewicz Ph.D., J.D.’? A. That’s correct, yes. Q. Is Mr. Sieczkiewicz a lawyer? A. Yes.”).

And the redacted material refers to Dr. Sieczkiewicz by name and refers to his input in preparing

that analysis.

        Second, Defendants’ contention that the Schrum document “was authored by two scientist

non-lawyers” (Memo. at 9) is beside the point. Moderna’s claim of privilege stems from the fact

that the redacted portions of the document reflect legal advice from Dr. Sieczkiewicz regarding

intellectual property analysis or protection, not that it was authored in its entirety by a lawyer. Ex.

A at 182 (Entry No. 3215). Moreover, Dr. Schrum testified that portions of the document reflect

feedback from attorney Dr. Sieczkiewicz. Ex. C at 353:2-25 (testifying that “portions” of the

document “would have included feedback” from the listed sponsors, which includes “Greg

Sieczkiewicz”); see also id. at 353:17-24 (testifying that he “can’t say that we [Dr. Schrum and

          ] wrote literally all of the words in this document”). The redactions in the Schrum

document correspond to the portions that reflect feedback from Dr. Sieczkiewicz. See Ex. C at

202:14-203:14 (testifying that “[t]he IP content” would have been something Dr. Sieczkiewicz

commented on because of “his role as the IP attorney”); see also id. at 354:6-355:10 (testifying

that “[i]t’s certainly possible” that the portion of the Schrum document related to “competitors”

reflected legal advice). Indeed, the redacted portions of the document specifically refer to Dr.

Sieczkiewicz by his first name (i.e., “Greg”).

        In their motion, Defendants attempt to fault Dr. Schrum for not having perfect recall during

his deposition with respect to a document authored nearly 15 years ago. See Ex. D at 2515

(Schrum document dated “2010”); Ex. C at 1 (deposition dated Dec. 19, 2023); see also Ex. 4 at

13. However, during his deposition, Dr. Schrum was shown a redacted copy of the Schrum

document. See Ex. C at 74:24-75:13, 353:2-10. And, given the passage of time since the Schrum



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document was drafted, it is unsurprising that Dr. Schrum did not remember exactly what appeared

behind the redactions. See id. at 354:6-355:20.

       Third, Defendants speculate that the redactions may contain “business and science …

feedback,” rather than legal feedback. Memo. at 10. But, as Moderna’s privilege log makes clear,

the redacted portions of the Schrum document reflect feedback from Dr. Sieczkiewicz “regarding

intellectual property analysis or protection.” Ex. A at 182 (Entry No. 3215). And Dr. Schrum

testified that, in his role as “Vice President of Intellectual Property,” areas on which Dr.

Sieczkiewicz would comment and provide feedback would include “IP content.” See Ex. C at

202:14-203:14. The Court’s in camera review will confirm the redacted portions implicate

intellectual property analysis or protection. This case is thus unlike In re GE ERISA Litigation on

which Defendants rely (Memo. at 10-11), where it was not clear what advice the implicated

attorneys were providing. No. 1:17-cv-12123-IT, 2022 WL 247719, at *2-3 (D. Mass. Jan. 26,

2022). Both Moderna’s privilege log and Dr. Schrum’s testimony supply that information.

       Finally, Defendants incorrectly argue that any privilege as to the Schrum document was

waived. Memo. at 11. As an initial matter, Defendants never made that contention during the

parties’ months-long correspondence and meet-and-confers. See Ex. B at 1-3, 8; Ex. E at 2; Ex. I

at 2. But, in any event, that is unsupported conjecture by Defendants. It is not clear what document

the Nature article is referring to, and Defendants have developed no factual record on this issue.

Indeed, Defendants could have asked Dr. Schrum if the Schrum document—which was introduced

as an exhibit at his deposition—was provided to a reporter or otherwise published. They did not

do so. Nor did Dr. Schrum testify that he ever disclosed Moderna confidential information. On

the contrary, Dr. Schrum testified that the materials in his possession from his time at Moderna

were maintained securely. See, e.g., Ex. 6 at 347:11-348:3 (testifying that only person who had



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access to storage locker from which documents were produced was Dr. Schrum and that the unit

where he stored those documents “has a keyed elevator code, and then the unit itself is under

padlock”).

              2.      Dr. Sieczkiewicz Served as Moderna’s Attorney at the Time the
                      Schrum Document Was Created.

       Defendants argue that Moderna has not shown that there was an attorney-client relationship

between Dr. Sieczkiewicz and Moderna. Memo. at 12-13. To the contrary, the record shows that

Dr. Sieczkiewicz served as legal counsel to Moderna.

       First, Dr. Schrum expressly testified that Dr. Sieczkiewicz provided legal services to

Moderna. Ex. C at 357:4-11 (“Q. And did you receive legal advice from Mr. Sieczkiewicz in your

work for Flagship and Moderna? A. Yes, that’s correct.”).

       Second, Defendants’ argument is premised on a misunderstanding as to the relationship

between Moderna and Flagship. In 2009/2010, Flagship created a prototype company called

“LS18.” Ex. 1 at 2, 4; Ex. 2 at 14 (noting that “Flagship Pioneering” incorporated “Newco LS18,

Inc.” in “2009”). During the 2010 timeframe—i.e., when the Schrum document was authored—

LS18 operated under Flagship. See Ex. 1 at 4. Because LS18 operated under Flagship, Flagship

provided all General and Administrative-type functions to Moderna,3 which included legal counsel

(e.g., Ex. M at 7; P at 2)—as Dr. Schrum testified. Ex. C at 357:4-11 (testifying that Greg

Sieczkiewicz provided legal advice to Flagship and Moderna). Thus, contrary to Defendants’

suggestion (Memo. at 12-13), there was no disclosure to a third party by virtue of the document

being in Moderna’s possession.




3
        Moderna was the new name for LS18 (Ex. 1 at 4; Ex. 2 at 14), and the Schrum document
refers to the new company as “ModeRNA.” Ex. D at 2524.
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       Third, Defendants’ contention that, in the absence of a formal engagement letter, no

attorney-client relationship can be established (Memo. at 13) is contrary to law. E.g., Hanover

Ins. Co. v. Rapo & Jepsen Ins. Servs., Inc., 870 N.E.2d 1105, 1113 (Mass. 2007) (noting that “the

attorney-client privilege does not depend on a writing”); see also Max-Lanck-Gesellschaft Zur

Foerderung der Missenchaften E.V. v. Wolf Greenfield & Sacks, PC, 736 F. Supp. 2d 353, 359 (D.

Mass. 2010) (“An attorney-client relationship may be based on an express contract or, in some

cases, may be implied.”). Here, Dr. Schrum testified that Dr. Sieczkiewicz provided him legal

advice in his work at Flagship and Moderna, that the Schrum document reflected Dr.

Sieczkiewicz’s legal advice, and that Dr. Sieczkiewicz provided feedback on “IP content” given

“his role as the IP attorney.” Ex. C at 202:14-203:14, 353:2-24, 357:2-11. That is more than

sufficient to demonstrate an attorney-client relationship existed. See Patel v. Martin, 111 N.E.3d

1082, 1095 (Mass. 2018) (“[A]n attorney-client relationship may be impliedly formed when an

attorney provides ‘advice or assistance[.]’” (emphasis added; original emphasis omitted) (quoting

DeVaux v. American Home Assur. Co., 444 N.E.2d 355, 357 (Mass. 1983)).

       B.      The de Fougerolles Document Reflects Legal Advice from a Lawyer.

       The de Fougerolles document (MOD_000332132) is privileged in its entirety. The de

Fougerolles document reflects legal advice from IP attorney Donna Ward concerning intellectual

property analysis or protection. E.g., Ex. A at 184 (Entry No. 3278); Ex. P at 3. This is confirmed

by an earlier version of the document that was provided to counsel on April 25, 2013, with an

email containing an express request for legal advice on intellectual property matters (which

Moderna submits for in camera review). See Ex. A at 3 (Entry No. 64). The disputed document

is dated May 19, 2013 and, based upon its content and timing, reflects Dr. Ward’s legal advice.

       Defendants’ arguments against the de Fougerolles document being privileged fail. First,

the fact that the de Fougerolles document “was authored by non-lawyer scientist Dr. de
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Fougerolles” (Memo. at 14) is again beside the point. The document is privileged because it

reflects Dr. Ward’s legal advice. Moreover, because the entirety of the de Fougerolles document

was submitted to counsel for legal advice—as the documents submitted in camera confirm—it is

privileged in its entirety. See Commissioner of Revenue, 901 N.E.2d at 1196 (“[I]nformation

contained within a communication need not itself be confidential for the communication to be

deemed privileged; rather the communication must be made in confidence—that is, with the

expectation that the communication will not be divulged.”).

       Second, Defendants again speculate as to what type of advice was elicited with respect to

the de Fougerolles document. Memo. at 14. But as the Court’s in camera review will confirm,

the email correspondence associated with an earlier draft of the document confirms that the request

for legal advice concerns all aspects of the document. Accordingly, the de Fougerolles document

is privileged in its entirety, and a redacted version cannot be provided without waiving privilege.

       Finally, Defendants incorrectly characterize Moderna’s privilege assertions as

“inconsistent.” Memo. at 14-16. But there is no inconsistency. Moderna has consistently asserted

that the de Fougerolles document is privileged because it reflects Dr. Ward’s legal advice. The

only thing that has changed is that Moderna has learned additional information that reinforces

Moderna’s claim of privilege over the de Fougerolles document by investigating the questions

raised by Defendants.     See Ex. P at 3 (noting that Moderna’s understanding is based on

“consideration of other privileged information and communications with Dr. de Fougerolles”).

V.     CONCLUSION

       For the foregoing reasons, Moderna respectfully requests that the Court deny Defendants’

motion.




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Date: February 5, 2024                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on February 5, 2024, I filed the foregoing document with the United States

District Court for the District of Massachusetts and caused it to be served on all registered

participants via email.



                                                        /s/ Kevin S. Prussia
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